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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


SONRAI SYSTEMS, LLC,

              Plaintiff,
                                             CIVIL ACTION NO. 1:16-CV-3371
v.
                                             U.S. District Judge Thomas M. Durkin
ANTHONY M. ROMANO, et al.,

              Defendants.                    U.S. Magistrate Judge Michael T. Mason




        NOTICE OF UNOPPOSED MOTION TO WITHDRAW AND TERMINATE
             JUSTIN C. COLANNINO AS AN ATTORNEY OF RECORD

       PLEASE TAKE NOTICE that on Wednesday, November 29, 2017 at 9:00 a.m. or as
soon thereafter as counsel may be heard, we shall appear before the Honorable Thomas M.
Durkin, or any judge sitting in his stead, in Courtroom 1441 of the Everett McKinley Dirksen
Building, 219 South Dearborn Street, Chicago, Illinois, and then and there present an Unopposed
Motion To Withdraw And Terminate Justin C. Colannino As An Attorney Of Record. A copy of
the Motion has been previously served upon you.



Dated: November 20, 2017                        Respectfully submitted,

                                                /s/ William P. Oberhardt
Michael A. Albert                               William P. Oberhardt (Atty. No. 3122407)
Justin C. Colannino (pro hac vice)              Kathleen A. Lyons
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Counsel for Defendant Geotab, Inc.              Local Counsel for Defendant Geotab, Inc.
   Case: 1:16-cv-03371 Document #: 153 Filed: 11/20/17 Page 2 of 2 PageID #:1655



                                CERTIFICATE OF SERVICE


       I hereby certify that on November 20, 2017, I caused a true and accurate copy of the

foregoing document to be filed electronically with the Clerk of the Court by using the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of record.




                              /s/ William P. Oberhardt
                              William P. Oberhardt (Atty. No. 3122407)
                              Kathleen A. Lyons
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                              Local Counsel for Defendant Geotab, Inc.
